                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                      NO. 5:20-CV-123-FL


 KELLY STAFFORD; GRASS ROOTS                    )
 NORTH CAROLINA; SECOND                         )
 AMENDMENT FOUNDATION; and                      )
 FIREARMS POLICY COALITION, INC,                )
                                                )
                       Plaintiffs,              )
                                                )        CASE MANAGEMENT ORDER
       v.                                       )
                                                )
 GERALD BAKER in his official capacity          )
 as Sheriff of Wake County,                     )
                                                )
                       Defendant.               )



       Pursuant to Federal Rule of Civil Procedure 26(f), the parties conducted a pretrial

conference by telephone in this case on March 8, 2021. After reviewing the parties’ joint report

and plan, filed March 12, 2021, the court orders the following:

A.     Discovery

       1.      The parties shall exchange by April 7, 2021, the information required by Federal

               Rule of Civil Procedure 26(a)(1).

       2.      Discovery will be necessary on the following subjects: reference is made to the

               discovery proposed to be undertaken in the parties’ joint report and plan.

       3.      All discovery shall be commenced or served in time to be completed by October

               29, 2021.




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4.      The court incorporates herein by reference the parties’ agreements regarding

        discovery of electronically stored information and privileged information, set forth

        at sections IV.E. and IV.K. of the joint report and plan.

5.      No party shall serve more than 30 interrogatories, including all discrete subparts,

        to any other party. Responses are due 60 days after service of those interrogatories.

6.      No party shall serve more than 25 requests for admissions to any other party.

        Responses are due 60 days after service of those requests for admissions.

7.      There shall be no more than 10 depositions by plaintiffs and 10 by defendant,

        exclusive of expert witnesses.

8.      Each deposition shall be limited to 7 hours, unless otherwise agreed by the parties.

9.      Disclosures required by Federal Rule of Civil Procedure 26(a)(2), including reports

        from retained experts, shall be served by plaintiffs by July 16, 2021, and by

        defendant by August 13, 2021. The parties shall serve any objections to such

        disclosures, other than objections pursuant to Federal Rules of Evidence 702, 703,

        or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993),

        Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) or similar case law, within 14

        days after service of the disclosures upon them. These objections should be

        confined to technical objections related to the sufficiency of the written expert

        disclosures (e.g., whether all of the information required by Rule 26(a)(2) has been

        provided, such as lists of prior testimony and publications). These objections need

        not extend to the admissibility of the expert’s proposed testimony. If such technical

        objections are served, counsel shall confer or make a reasonable effort to confer

        before filing any motion based on those objections.



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10.      Supplementations of disclosures under Federal Rule of Civil Procedure 26(e) shall

         be served at such times and under such circumstances as required by that rule. In

         addition, such supplemental disclosures shall be served by September 17, 2021.

         The supplemental disclosures served 40 days before the deadline for completion of

         all discovery must identify the universe of all witnesses and exhibits that probably

         or even might be used at trial other than solely for impeachment. The rationale for

         the mandatory supplemental disclosures 40 days before the discovery deadline is to

         put opposing counsel in a realistic position to make strategic, tactical, and economic

         judgments about whether to take a particular deposition (or pursue follow-up

         written discovery) concerning a witness or exhibit disclosed by another party before

         the time allowed for discovery expires. Counsel should bear in mind that seldom

         should anything be included in the final Rule 26(a)(3) pretrial disclosures that has

         not previously appeared in the initial Rule 26(a)(1) disclosures or a timely Rule

         26(e) supplement thereto; otherwise, the witness or exhibit probably will be

         excluded at trial. See Fed. R. Civ. P. 37(c)(1).

11.      To avoid the filing of unnecessary motions, the court encourages the parties to

         utilize stipulations regarding discovery procedures. However, this does not apply

         to extensions of time that interfere with the deadlines to complete all discovery, for

         the briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29. Nor does

         this apply to modifying the requirements of Federal Rule of Civil Procedure

         26(a)(2) concerning experts’ reports.

12.      Discovery in this case may be governed by a protective order. If the parties disagree

         concerning the need for, and/or the scope or form of, a protective order, the party



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   or parties seeking such an order shall file an appropriate motion and supporting

   memorandum. If the parties agree concerning the need for and scope and form of

   a protective order, their counsel shall confer and then submit a jointly proposed

   protective order as soon as is practicable.

   a.     A jointly proposed protective order shall include, in the first paragraph, a

          concise but sufficiently specific recitation of the particular facts in this case

          that would provide the court with an adequate basis upon which to make the

          required finding of good cause for issuance of the protective order pursuant

          to Federal Rule of Civil Procedure 26(c).

   b.     Any proposed protective order shall set out the procedure for filing under

          seal confidential documents, things, and/or information, pursuant to the

          requirements of Stone v. University of Maryland Medical System Corp.,

          855 F.2d 178, 180 181 (4th Cir. 1988). Specifically, a proposed protective

          order shall include the following language: “Each time a party seeks to file

          under seal confidential documents, things, and/or information, said party

          shall accompany the request with a motion to seal and a supporting

          memorandum of law specifying (a) the exact documents, things, and/or

          information, or portions thereof, for which filing under seal is requested; (b)

          where it is necessary for the court to determine the source of the public’s

          right to access before a request to seal may be evaluated, whether any such

          request to seal seeks to overcome the common law or the First Amendment

          presumption to access; (c) the specific qualities of the material at issue

          which justify sealing such material, taking into account the balance of



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                     competing interests in access; (d) the reasons why alternatives to sealing are

                     inadequate; and, (e) whether there is consent to the motion. Finally, in

                     addition to the motion and supporting memorandum, said party must set out

                     such findings in a proposed order to seal for the court.”

             c.      Before ruling on any motion to seal the court will give the public notice of

                     the motion and a reasonable opportunity to challenge it. While individual

                     notice is unwarranted, the court will docket the motion reasonably in

                     advance of deciding the issue, or, where applicable, the court will notify

                     persons present in courtroom proceedings of the motion. The court will rule

                     favorably upon any motion to seal only after carefully weighing the interest

                     advanced by the movant and those interests favoring public access to

                     judicial documents and records, and only upon finding that the interests

                     advanced by the movant override any constitutional or common law right

                     of public access which may attach to the documents, things, and/or

                     information at issue.

             d.      The parties are directed to Section V.G. of the court’s Electronic Case Filing

                     Administrative Policies and Procedures Manual, available online at

                     http://www.nced.uscourts.gov/pdfs/cmecfPolicyManual.pdf

                     for information regarding how to file and serve sealed documents through

                     the court’s Case Management / Electronic Case Filing system (“CM/ECF”).

B.   Motions

     1.      Any motion shall be accompanied at time of filing with a proposed form of order,

             stating its requested relief.



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         2.       Any motion for leave to join additional parties shall be filed by May 10, 2021. Any

                  motion to otherwise amend the pleadings shall be filed by May 17, 2021. Any

                  parties later joined to this action are bound by this case management order unless

                  otherwise ordered by the court.             The parties agree that the foregoing does not

                  restrict or apply to amendments made pursuant to Fed. R. Civ. P. 15(b).

         3.       All potentially dispositive motions shall be filed by November 30, 2021. All

                  motions to exclude testimony of expert witnesses pursuant to Federal Rules of

                  Evidence 702, 703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

                  579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case

                  law, shall be filed by the deadline set for dispositive motions.1 In conjunction with

                  any such motion to exclude expert testimony or response thereto, the parties shall

                  include where available all materials associated with the challenged expert,

                  including resumes, reports, depositions, and objections to qualifications.

         4.       Any motion raising a disputed issue of or relating to discovery, including any

                  disputed motion to compel, for protective order, or to alter discovery requirements

                  set forth herein (hereinafter, “discovery motions”), shall be filed and served within

                  30 days of the act or omission in discovery complained of, after good faith effort

                  between the parties to resolve issue(s), unless upon good cause shown, time for

                  filing such motion is extended. Before filing, the court requires notice of such

                  disputed discovery issue(s) for its consideration in setting a telephonic discovery

                  conference. The complaining party must notify the office of the case manager, by


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         Given the court’s specific directives expressed herein, allowance by the Local Civil Rules for filing of
motions in limine in advance of trial does not provide a renewed opportunity in this case to file motions to exclude
testimony of expert witnesses, absent showing that issues raised in motions in limine could not have been raised at the
time of deadline for filing dispositive motions.

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             telephone at (252) 638-8534, of the discovery dispute, and provide the parties’

             mutually agreed to suggested dates and times for such conference.               The

             complaining party then will be instructed by the case manager how to transmit

             discovery material directly bearing on the particular dispute(s), either by facsimile

             or email, to the court for its preview. Any material provided to the court shall be

             copied to the opposition. If the opposing party is desirous of supplementing

             discovery material for the court, counsel similarly shall contact the case manager

             by telephone, for transmittal instruction. The case manager promptly will notify

             counsel by email as to any conference setting. Discovery motions filed after the 30

             day deadline and/or without advance conference with the court, absent extenuating

             circumstances, summarily will be denied. Discovery motions ordinarily will be

             referred to a magistrate judge for ruling.

     5.      Any motion to continue must conform with the requirements set forth in Local Civil

             Rule 6.1, and also include a detailed statement as to the reason for the requested

             continuance or extension of time together with the proposed order. Continuances

             will be granted only upon showing of good cause, particularly focusing upon the

             evidence of diligence by the party seeking delay and of prejudice that may result if

             the continuance is denied.

C.   Alternative Dispute Resolution (“ADR”)

     1.      A settlement procedure is required in virtually every case, to be conducted before

             the close of discovery if the case is automatically selected for mediation pursuant

             to Local Alternative Dispute Rule 101.1a(b), or before the final pretrial conference

             if not automatically selected.



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       2.      This case has been automatically selected for mediation. Reference is made to

               Local Alternative Dispute Rule 101.1 et seq. for required deadlines.

       3.      If at any time a settlement is reached, it shall be reported immediately to this court.

               The parties shall refer to Local Alternative Dispute Rule 101.1e for their specific

               obligations.

D.     Pretrial and Trial Scheduling

       After the court has ruled on any dispositive motion(s), the court will enter a scheduling

order governing deadlines and procedures for final pretrial conference and trial, as appropriate.

       This case management order shall not be modified except by leave of court upon a showing

of good cause, and all requirements set forth in the court’s Local Civil Rules governing pretrial

and trial procedures not altered herein shall be strictly observed.

       SO ORDERED, this the 16th day of March, 2021.



                                                              _____________________________
                                                              LOUISE W. FLANAGAN
                                                              United States District Judge




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